Case 8-19-74164-ast Doci1 Filed 06/07/19 Entered 06/07/19 16:13:58

 

United States Bankruptcy Court for the:

 

Eastern District of New York

Case number (if known): Chapter you are filing under: eg ap o4 .
Chapter 7 bud Cus i P \: Ou
QO Chapter 114
Cd Chapter 12 IEE Peep cy pe
CI Chapter 13 Ao Ue Check iL this is an

amended filing

 

Official Form 101
Voluntary Petition for individuals Filing for Bankruptcy 42/17

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

 

Identify Yourself

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your fullname

Write the name that is on your Humaira Syed

government-issued picture - on

identification (for example, First name First name

your driver's license or Jafri Shahid

passport). Middle name Middle name

Ali

Bring your picture
identification to your meeting Last name Last name
with the trustee.

 

 

 

 

 

 

 

 

 

Suffix (Sr, Jr. il, Suffix (Sr., Jr, Hi, U5
2. Alilother names you N/A Syed
have used in the last 8 First name First name
years
Include your married or Middle name Middie name
maiden names. Ali
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of “ ;

: _ ~ ~ ~ 4 3 7 7
your Social Security XXX ee ee AXX XX SL
number or federal OR oR
Individual Taxpayer 9 9
identification number FR en KKK
(ITIN)

 

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Humaira Jafri

First Name Middie Name Last Name

Debtor 1 Case number uf known}

 

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

About Debtor 1:

6d | have not used any business names or EiNs.

About Debtor 2 (Spouse Only in a Joint Case):

Zi | have not used any business names or EINs.

 

Business name

Business name

 

Business name

EIN

EIN

Business name

 

8, Where you live

183, Southwood Cir

Hf Debter 2 lives at a different address:

183, Southwood Cir

 

 

 

 

 

Number Street Number Street

Syossei NY 11791 Syesset NY 11791
City State ZIP Cada City State ZIP Code
Nassau Nassau

County County

If your maiting address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

lf Debtor 2’s mailing address is different from
yours, fill itin here. Note that the court will send
any notices to this rnailing address.

 

 

 

 

_ 6. Why you are choosing
this district to file for
bankruptcy

 

 

N/A N/A

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Cade City State ZIP Code
Check one: Check one:

vi Over the last 180 days before filing this petition,
| have lived in this district langer than in any
other district.

(J | nave.another reason. Explain.
(See 28 U.S.C, § 1408.)

 

 

 

 

4 Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

C] i have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 2
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Debtor 7 Humaira Jafri Case number of known)

 

 

First Name Middle Name Last Name

Tell the Court About Your Bankruptcy Case

 

 

7. The chapter of the Check one. (For a brief description of each, see Natice Required by 11 U.S.C. § 342(6) for individuals Filing
Bankruptcy Code you for Bankrupicy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file

Chapter 7

QC] Chapter 14
Cl Chapter 12
LJ Chapter 13

under

8. How you will pay the fee 411 will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, ar money order. If your atiorney is

g submitting your payment on your behalf, your atlorney may pay with a credit card or check
with a pre-printed address.

CL] | need to pay the fee in instaliments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in installments (Official Form 103A).

MW request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.

 

 

 

 

 

 

  

 

9. Have you filed for Wi No
bankruptcy within the
last 8 years? | Yes. District Wher Casenumber __
MM/ DD /YYYY
District When Case number
MM / DDI YYYY
District When Case number
MM/ DDIYYYY
10. Are any bankruptcy WZ No
cases pending or being Q a
filed by a spouse who is Yes. Debtor Relationshiplo you = _
not filing this case with District When Case number, fi known _
you, or by a business MM?IDD TYYYY
partner, or by an
affiliate?
Debtor Relationship fo you ep epee
District When Gase number, ifknown
MM /DD/YYYY
11. Do you rent your CINo. Go te line 12.
residence? Yes. Has your landlord obtained an eviction judgment against you?

No. Go to line 12.

C) Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3

 
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Debtor 1 Humaira Jafri

First Name Middle Name Last Name

Case number uf known)

 

 

Report About Any Businesses You Own as a Sole Prosrietor

 

 

12. Are you a sole proprietor No. Go to Part 4.
of any full- or part-time
business? C] Yes. Name and location of business

A sole proprietorship is a
business you operate as ar
individual, and is not a
separate legal entity such as

a corporation, partnership, or
LLC. Number Street

 

Name of business, if any

 

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZIP Code

Check the appropriate box to describe your business:

LJ Health Care Business {as defined in 11 U.S.C. § 1014(27A))
CJ Single Asset Rea! Estate (as defined in 11 U.S.C. § 107(51B))
Cl Stockbroker (as defined in 11 U.S.C. § 104/534)

CJ Commadity Broker (as defined in 11 U.S.C. § 107(6))

CI None of the above

13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. \f you indicate that you are a small business debtor, you must atlach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a smail business any of these documents da not exist, follow the procedure in 11 U.S.C. § 1116(1{(B).
debtor? a
c definit f i ZINo. tamnot filing under Chapter 11.

or a definition of sma
business debtor, see CI No. fam filing under Chapter 11, but !am NOT a small business debtor according to the definition in
17 U.S.C. § 101(51D). the Bankruptcy Code.

tal Yes. lam filing under Chapter 11 and | am a smail business debtor according to the definition in the
Bankruptcy Code.

Report if You Gwn or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

 

14. Do youownorhaveany (ino
property that poses or is
alleged to pose a threat L) Yes. What is the hazard?
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

 

 

if immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

City State 2ZiP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4

 
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Debtor 4 Humaira

Jafri

 

First Name Middle Name

 

Last Name

Entered 06/07/19 16:13:58

Case number tf knawn}

 

| Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Officiai Form 101

About Debtor 1:

You must check one:

C] i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

0d I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but [do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the cerlificate and payment
plan, if any.

C] i certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

(J i am not required to receive a briefing about
credit counseling because of:

LJ incapacity. | have a mental iiness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Qa Disability. | My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C] Active duty. | arm currently on active military
duty in a military combat zone.

if you believe you are not required tc receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

About Debtor 2 (Speuse Only in a Joint Case):

You must check one:

C) | received a briefing from an approved credit
counseling agency within the 186 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

04 | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not havea
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

ht certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requiremeri, attach a separate sheet explaining
what efforts you made io obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied wih your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be disrnissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

(J | am not required to receive a briefing about
credit counseling because of:

iJ Incapacity. | have a mental diness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Q Disability. My physical disability causes me
to be unable to participate ina
briefirig in person, by phone, or
through the internet, even after |
reasonably tried ta do so.

Cl Active duty. [am currently on active military
duty in a military cornbal zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the cour.

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Humaira Jafri

Middie Name

Debtor 1

Case number uf known)

 

 

First Name Last Name

4} Answer These Questions for Reporting Purposes

 

 

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8}
as “incurred by an individual primarily for a personal. family, or household purpose.“
L] No. Go to line 16b.
i Yes. Goto line 17.

16. What kind of debts do
you have?

16b. Are your debts primarily business debts? Susiness debts are debts that you incurred to obtain
5 money for a business or investment or through the operation of the business or investment.

No. Go to line 16c.
BA) Yes. Go to line 17.

=

16c. State the type of debts you owe that are not consumer debts or business debts.

 

17. Are you filing under
Chapter 7?

Do you estimate that after Wl Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?

LI No. 1am not filing under Chapter 7. Go to line 78.

 

excluded and Wi Neo
administrative expenses
are paid that funds will be } Yes
available for distribution
to unsecured creditors?
1s. How many creditorsdo (J 1-49 I 1,000-5,000 CJ 25,001-50,060
you estimate that you CJ 50-99 Cd 5,001-10,000 CJ 50,001-100,000
owe? QI 100-199 Cl 10,001-25.000 CJ More than 100,000
{J 200-999

 

19. How much do you
estimate your assets to
be worth?

$0-$50,000
L $50,001-$100,000
LJ $100,007-$500,000

C2 $500,004-$1 million

 

20. How much do you
estimate your liabilities
to be?

| Sign Below

 

CJ $0-$50,000

C] $50,001-$100,000
$100,001-$500,000
{J $500,001-$1 million

[} $1.000,001-$40 million

(3 $10,000,001-$50 million
C] $50,000,001-$100 million
(J $100,000,001-$500 million

[2 $14,000,001-$10 million

Lal $10,000,001-$50 million
CJ $50,000,001-$100 million
CJ $190,000,001-$500 million

CJ $500,000,001-$1 billion
(ed $1,000,000,001-$10 billion
tal $10,000,000,001-$50 billion

Cd More than $50 billion

Cd $500,000,007-51 billion

(ad $4,000,000,001-$10 billion
Ld $10,000,000,001-$50 billion
Ll More than $50 billion

 

For you

| have examined this petition, and | declare under penalty of perjury that the information provided is true and
correct.

lf [have chosen to file under Chapter 7, | am aware that i may proceed, if eligible. under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter. and I choose to proceed
under Chapter 7.

if no attorney represents me and | did not pay or agree to pay someone who is nat an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, cr obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000. or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1579. and 3571.

\ &
Ms a 4 3€ Syed Shahid Ali

Signature of Debtor 2

3€ Humaira Jafri
Signature of Debtor 1

Executed on 06/07/ 2019 .
MM / DD LYYYY

 

06/07/2019

MM / DD OLYYYY

Executed on

 

 

Official Form 101

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Case 8-19-

Debtor 4 Humaira

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Jafri

Case number of kravn}

 

First Name Middie Name

Last Name

 

For your attorney, if you are
represented by one

lf you are not represented
by an attorney, you do not
need to file this page.

 

1, the atforney for the debtor(s) named in this petition. declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s}
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

x

 

 

 

 

 

 

Date __
Signature of Attorney for Debtor MM of De IYY¥YY
Printed name
Firm name
Number Street
City State ZiP Code

Contact phone

 

Email address

 

Bar number

State

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 7
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Debtor 4 Humaira

Jafri

Case number of knows}

 

First Name Middle Name

Last Narae

 

For you if you are filing this
bankruptcy without an
attorney

if you are represented by
an attorney, you do not
need to file this page.

 

Official Form 101

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult te represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustes, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and jegal
consequences?

td No

al Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

CL] No

ofl Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
el No

LI Yes. Name of Person .
Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if do not properly handle the case.

 
 

 

 

 

 

 

 

Signature of Debtor 1 \ Signature of Debtor 2
Date 06/07/2019 Date 06/07/2019 |
MM? DO 1 YYYY MMT DD 7 YYY
Contact phone 917-818-9334 Contact phone 947-818-9334
Cell phone Cell phone
Email address jafrihumaira@icloud.com email address SyYed_shahid_ali@yahoo.com

 

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
www.nyeb.uscourts.gov

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): Homann SAP | Fy €) Shatin ALF CASENO::

 

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iii)
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of either
of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

SANO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE PENDING: (YES/NO): [Jf closed| Date of Closing:

 

CURRENT STATUS OF RELATED CASE:
(Discharged/awaiting discharge, confirmed, dismissed, etc.

 

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

© SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

° SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

 

CASE PENDING: (YES/NO): [if closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

e SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

e SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 
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[OVER]
DISCLOSURE OF RELATED CASES (cont’d)
CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE PENDING: (YES/NO): [Jf closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:
(Discharged/awaiting discharge, confirmed, dismissed, ete.

 

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except as

indicated elsewhere on this form.
XN.
LAU MAIDA JAF] Fk , |

Signature of Debtor’s Attorney g Signature of Pro-se Debtor/Petitioner
YeED ALT TM ae A
! ——

Mailing Address of Debtor/Petitipner

Nope NY — 1

City, State, Zip Code ©

ed. Shahi oKCaygo0.0-

Entail”Address

114-31 §- 12334

Area Code and Telephone Number

&

 

 

 

Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.
Case 8-19-74164-ast Doci1 Filed 06/07/19 Entered 06/07/19 16:13:58

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
ee cee rm ee ee a ee re ee xX

In re: RU MAA Ghee / SYED IMD Case No. +

Chapter

Debtor(s)

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DECLARATION OF PRO SE DEBTOR(S)

All individuals filing for bankruptcy pro se (without an attorney), must provide the following information:

Name of Debtor(s): 4lu MAILA, WFRI / Sg vA Saar ACE
Address: 163 Cou ThupeP an. Qyose TN YA (4 |

Email Address: Syed Qiabidl Qu C_yoheo- Con

Phone Number: ( Or { “F ) eB \S—932 &

 

 

 

CHECK THE APPROPRIATE RESPONSES:
FILING FEE:
___ PAID THE FILING FEE IN FULL
APPLIED FOR INSTALLMENT PAYMENTS OR WAIVER OF THE FILING FEE

 

PREVIOUS CASES FILED: 1. 2. 3.

 

ASSISTANCE WITH PAPERWORK:
ae ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES
____ HAD ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES

If Debtor had assistance, the following information must be completed:
Name of individual who assisted: AJ [ a
Address:

 

 

Phone Number:

LA 6™

Amount Paid for Assistance:

I/We hereby declare the information above under the penalty of perjury.

Dated: o6ozant iy\ ah

Debtor’s Signature

 

   

 

Joint Debtor’s Signature |
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In Re: Case No.

Chapter

Hu NACA AFR
Zyen Strand RUF

Debtor(s)

 

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

pact: 06 (04207

[2h
Debtor

__ ta ey pe. ~

Joint Debtor

 

 

 

s/ a) R-
Attorney for Debtor

 

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Case 8-19-74164-ast Doc1

Creative Management Inc.
935- State Route 34 Matawan
New Jersey 07747

Gill Energy Inc.
935- State Route 34 Matawan
New Jersey 07747

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